                                                                                                                                                                            Case 3:20-cv-04869-WHA Document 75 Filed 09/04/20 Page 1 of 12



                                                                                                                                                                        1   TROUTMAN PEPPER HAMILTON
                                                                                                                                                                            SANDERS LLP
                                                                                                                                                                        2   Elizabeth Holt Andrews (SBN 263206)        Charles Sensiba (pro hac vice pending)
                                                                                                                                                                            elizabeth.andrews@troutman.com             charles.sensiba@troutman.com
                                                                                                                                                                        3   Three Embarcadero Center, Suite 800        401 9th Street N.W., Suite 1000
                                                                                                                                                                            San Francisco, California 94111-4057       Washington, D.C. 20004
                                                                                                                                                                       4    Telephone:     415.477.5700                Telephone:      202.274.2850
                                                                                                                                                                            Facsimile:     415.477.5710                Facsimile:      202.274.2994
                                                                                                                                                                        5
                                                                                                                                                                            Misha Tseytlin (pro hac vice pending)      Andrea W. Wortzel (pro hac vice pending)
                                                                                                                                                                        6   misha.tseytlin@troutman.com                andrea.wortzel@troutman.com
                                                                                                                                                                            Sean T.H. Dutton (pro hac vice pending)    1001 Haxall Point, 15th Floor
                                                                                                                                                                        7   sean.dutton@troutman.com                   Richmond, VA 23219
                                                                                                                                                                            227 W. Monroe Street, Suite 3900           Telephone:     804.697.1406
                                                                                                                                                                        8   Chicago, IL 60606-5085                     Facsimile:     804.697.1339
                                                                                                                                                                            Telephone:    312.759.1920
                                                                                                                                                                        9   Facsimile:    312.759.1939
                                                                                                                                                                                                                       Attorneys for
                                                                                                                                                                                                                                  for Proposed Intervenor
                                                                                                                                                                       10                                              National Hydropower Association
                             S AN DERS LLP
                                       LLP




                                                                                                                                                                                                    UNITED STATES DISTRICT COURT
                    AM ILTON SANDERS




                                                                                                                                                                       11
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
                                             T H R E E E M B A R C A D E R O C E N T E R , S U I T E 800




                                                                                                                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                                       12                              SAN FRANCISCO DIVISION
                  HAMILTON




                                                                                                                                                                       13    STATE OF CALIFORNIA, BY AND                  Case No. 3:20-CV-04869-WHA
                                                                                                                                                                             THROUGH ATTORNEY GENERAL XAVIER              (Related Case No. 3:20-CV-04636-WHA)
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                                                                                                                                                                       14    BECERRA AND THE STATE WATER
                                                                                                                                                                             RESOURCES CONTROL BOARD, STATE OF            PROPOSED INTERVENOR
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                                                                                                                                                                       15    WASHINGTON, STATE OF NEW YORK,               NATIONAL HYDROPOWER
                                                                                                                                                                             STATE OF COLORADO, STATE OF                  ASSOCIATION’S NOTICE OF
                                                                                                                                                                                                                          ASSOCIATION'S
                                                                                                                                                                       16    CONNECTICUT, STATE OF ILLINOIS,              MOTION & MOTION TO
                                                                                                                                                                             STATE OF MAINE, STATE OF MARYLAND,           INTERVENE PURSUANT TO FED. R.
                                                                                                                                                                       17    COMMONWEALTH OF MASSACHUSETTS,               CIV. P. 24(A)(2) AND (B)(1);
                                                                                                                                                                             STATE OF MICHIGAN, STATE OF                  MEMORANDUM OF POINTS &
                                                                                                                                                                       18    MINNESOTA, STATE OF NEVADA, STATE            AUTHORITIES IN SUPPORT
                                                                                                                                                                             OF NEW JERSEY, STATE OF NEW                  THEREOF
                                                                                                                                                                       19    MEXICO, STATE OF NORTH CAROLINA,
                                                                                                                                                                             STATE OF OREGON, STATE OF RHODE              Date:           October 15, 2020
                                                                                                                                                                       20    ISLAND, STATE OF VERMONT,                    Time:           8:00 AM
                                                                                                                                                                             COMMONWEALTH OF VIRGINIA, STATE              Judge:          Hon. William H. Alsup
                                                                                                                                                                       21    OF WISCONSIN, AND THE DISTRICT OF            Action Filed:   July 21, 2020
                                                                                                                                                                             COLUMBIA,
                                                                                                                                                                             COLUMBIA,                                    Courtroom:      Zoom
                                                                                                                                                                       22                    Plaintiffs,
                                                                                                                                                                       23          v.
                                                                                                                                                                       24    ANDREW R. WHEELER, IN HIS OFFICIAL
                                                                                                                                                                             CAPACITY AS ADMINISTRATOR OF THE
                                                                                                                                                                       25    UNITED STATES ENVIRONMENTAL
                                                                                                                                                                             PROTECTION AGENCY, AND THE UNITED
                                                                                                                                                                       26    STATES ENVIRONMENTAL PROTECTION
                                                                                                                                                                             AGENCY,
                                                                                                                                                                             AGENCY,
                                                                                                                                                                       27
                                                                                                                                                                                             Defendants.
                                                                                                                                                                       28
                                                                                                                                                                                                                                            Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                        NOTICE OF MOTION, MOTION TO INTERVENE, AND POINTS & AUTHORITIES
                                                                                                                                                                              Case 3:20-cv-04869-WHA Document 75 Filed 09/04/20 Page 2 of 12



                                                                                                                                                                        1                      NOTICE OF MOTION AND MOTION TO INTERVENE

                                                                                                                                                                        2          PLEASE TAKE NOTICE that, pursuant to Local Rule 7-1(b), on October 15, 2020, at

                                                                                                                                                                        3   1:30 PM or as soon thereafter as counsel may be heard in the above-captioned court, via Zoom if

                                                                                                                                                                       4    so ordered by the Court, Proposed Intervenor National Hydropower Association ("NHA")
                                                                                                                                                                                                                                                         (“NHA”) will

                                                                                                                                                                        5   and hereby does move pursuant to Fed. R. Civ. P. 24(a)(2) to intervene as a defendant in the

                                                                                                                                                                        6   above-captioned action as of right. Alternatively, in the event that NHA is not allowed to

                                                                                                                                                                        7   intervene as of right, NHA will and hereby does move to intervene permissively pursuant to Fed.

                                                                                                                                                                        8   R. Civ. P. 24(b)(1)(B).

                                                                                                                                                                        9          Pursuant to Fed. R. Civ. P. 24(a)(2), NHA seeks to intervene as of right because it "claims
                                                                                                                                                                                                                                                                       “claims

                                                                                                                                                                       10   an interest relating to the property or transaction that is the subject of the action"
                                                                                                                                                                                                                                                           action” and the
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                                                                                                                                                                       11   “disposi[tion] of the action may as a practical matter impair or impede [NHA's]
                                                                                                                                                                            "disposi[tion]                                                          [NHA’s] ability to protect
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   its interest."
                                                                                                                                                                                interest.” In addition, the current Defendants do not adequately represent NHA's
                                                                                                                                                                                                                                                           NHA’s interests.
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                                                                                                                                                                       13   Alternatively, NHA seeks to intervene permissively because it "has
                                                                                                                                                                                                                                          “has a claim . . . that shares with
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                                                                                                                                                                       14   the main action a common question of law or fact.”                              NHA’s
                                                                                                                                                                                                                        fact." Fed. R. Civ. P. 24(b)(1)(B). NHA's
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                                                                                                                                                                       15   intervention will not unduly delay or prejudice the adjudication of any parties'
                                                                                                                                                                                                                                                    parties’ rights in this

                                                                                                                                                                       16   matter as the litigation is still in its early stages. As more fully set forth in the accompanying

                                                                                                                                                                       17   memorandum, this motion is based on the grounds that (1) the motion is timely; (2) NHA has

                                                                                                                                                                       18   significant protectable interests, both for itself and for its members who presently operate

                                                                                                                                                                       19   hydropower facilities subject to the rule and as advocates for the challenged rule; (3) the

                                                                                                                                                                       20   disposition of this action without NHA's
                                                                                                                                                                                                               NHA’s involvement could impede NHA's
                                                                                                                                                                                                                                              NHA’s and its members'
                                                                                                                                                                                                                                                            members’

                                                                                                                                                                       21   ability to protect these interests; (4) the current parties do not adequately represent the specific

                                                                                                                                                                       22   interests of NHA; and (5) NHA's
                                                                                                                                                                                                      NHA’s position in support of the revised regulations plainly involves

                                                                                                                                                                       23   common questions of law and fact with this action, and NHA's
                                                                                                                                                                                                                                   NHA’s direct opposition to Plaintiffs'
                                                                                                                                                                                                                                                              Plaintiffs’

                                                                                                                                                                       24   claims satisfies the "common
                                                                                                                                                                                                 “common question"
                                                                                                                                                                                                         question” requirement for permissive intervention.

                                                                                                                                                                       25           This motion is supported by this notice and motion; the attached memorandum of points

                                                                                                                                                                       26   and authorities; the proposed order; the declaration of Dennis Cakert; all pleadings, papers, and

                                                                                                                                                                       27   records in this action; and upon such oral and documentary evidence or argument as may be

                                                                                                                                                                       28   presented at any hearing of this motion.
                                                                                                                                                                                                                               -2-                      Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1          PLEASE TAKE FURTHER NOTICE that this Motion is accompanied by NHA's
                                                                                                                                                                                                                                                 NHA’s

                                                                                                                                                                        2   Proposed Answer, in accordance with Fed. R. Civ. P. 24(c).

                                                                                                                                                                        3

                                                                                                                                                                       4                                        Respectfully submitted,

                                                                                                                                                                        5
                                                                                                                                                                            Dated: September 4, 2020            TROUTMAN PEPPER HAMILTON
                                                                                                                                                                        6                                       SANDERS LLP
                                                                                                                                                                        7
                                                                                                                                                                                                                By: /s/ Elizabeth Holt Andrews
                                                                                                                                                                        8                                           Elizabeth Holt Andrews
                                                                                                                                                                                                                    Misha Tseytlin (pro hac vice pending)
                                                                                                                                                                        9                                           Charles Sensiba (pro hac vice pending)
                                                                                                                                                                                                                    Andrea W. Wortzel (pro hac vice pending)
                                                                                                                                                                       10                                           Sean T.H. Dutton (pro hac vice pending)
                             S AN DERS LLP
                    AM ILTON SANDERS   LLP




                                                                                                                                                                       11                                                 for Proposed Intervenor
                                                                                                                                                                                                                Attorneysfor
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                                                                                             ASSOCIATION
                                                                                                                                                                                                                NATIONAL HYDROPOWER ASSOCIATION
                                                                                                                                                                       12
                  HAMILTON




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                                                                                                                                                                                                                           -3-                 Case No. 3:20-CV-04869-WHA
                                                                                                                                                                                        NOTICE OF MOTION, MOTION TO INTERVENE, AND POINTS & AUTHORITIES
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                                                                                                                                                                        1                            MEMORANDUM OF POINTS & AUTHORITIES

                                                                                                                                                                        2   I.       INTRODUCTION
                                                                                                                                                                        3            Proposed Intervenor National Hydropower Association ("NHA")
                                                                                                                                                                                                                                         (“NHA”) respectfully seeks leave

                                                                                                                                                                       4    to intervene as a defendant in the above-captioned matter under Federal Rule of Civil Procedure

                                                                                                                                                                        5   24,1 to protect the interests of NHA and its members in the defense of the United States
                                                                                                                                                                            24,1

                                                                                                                                                                        6   Environmental Protection Agency ("EPA")'s
                                                                                                                                                                                                            (“EPA”)’s final rule entitled "Clean
                                                                                                                                                                                                                                          “Clean Water Act Section 401

                                                                                                                                                                        7   Certification Rule."                                      Plaintiffs2 have sought judgments
                                                                                                                                                                                          Rule.” 85 Fed. Reg. 42,210 (July 13, 2020). Plaintiffs2

                                                                                                                                                                        8   declaring that (1) the EPA, in enacting the rule, acted arbitrarily and capriciously and not in

                                                                                                                                                                        9   accordance with the law, abused its discretion, and exceeded its authority, and (2) the rule is

                                                                                                                                                                       10   unlawful, justifying vacatur. Dkt. 1 at 27. As described below, NHA and its members have
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                                                                                                                                                                       11   direct and substantial interests in the viability of the EPA’s
                                                                                                                                                                                                                                     EPA's rule.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12            NHA is entitled to intervene in this action as a matter of right under Federal Rule of Civil
                  HAMILTON




                                                                                                                                                                       13                                                                   Defendants3 have even
                                                                                                                                                                            Procedure 24(a). This motion is unarguably timely, filed before Defendants3
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                                                                                                                                                                       14   answered. NHA represents public and private entities that own hydropower producing facilities,
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                                                                                                                                                                       15   all of whom are directly affected by this rule, which protects them from state overreach and

                                                                                                                                                                       16   substantial expansion of the statutory scope of Clean Water Act Section 401. Many of NHA's
                                                                                                                                                                                                                                                                 NHA’s

                                                                                                                                                                       17   members have been subject to practices employed by the states that abuse the framework

                                                                                                                                                                       18   established by Clean Water Act Section 401. If Plaintiffs'
                                                                                                                                                                                                                           Plaintiffs’ lawsuit were successful, this would

                                                                                                                                                                       19   allow these practices to continue, impeding NHA members'
                                                                                                                                                                                                                            members’ interests in the certainty provided by

                                                                                                                                                                       20       EPA’s rulemaking and undermining the cooperative federalism established by Section 401.
                                                                                                                                                                            the EPA's

                                                                                                                                                                       21   Finally, Defendants do not adequately represent NHA's
                                                                                                                                                                                                                            NHA’s interests. The EPA is congressionally

                                                                                                                                                                       22   authorized to protect and maintain the chemical integrity of America's
                                                                                                                                                                                                                                         America’s waterways. While NHA

                                                                                                                                                                       23
                                                                                                                                                                            1
                                                                                                                                                                            i Undersigned counsel for NHA contacted counsel for the parties on September 2, 2020, seeking to obtain consent for
                                                                                                                                                                       24   this motion. Counsel for Proposed Intervenor States indicated they do not oppose. Counsel for Plaintiff States
                                                                                                                                                                            indicated they took no position and reserved the right to oppose. Counsel for Defendants indicated that they took no
                                                                                                                                                                       25   position.
                                                                                                                                                                            2
                                                                                                                                                                            2 The State of California, through its Attorney General Xavier Becerra and the California Water Resources Control
                                                                                                                                                                       26   Board; the States of Washington, New York, Colorado, Connecticut, Illinois, Maine, Maryland, Michigan,
                                                                                                                                                                            Minnesota, Nevada, New Jersey, New Mexico, North Carolina, Oregon, Rhode Island, Vermont, and Wisconsin; the
                                                                                                                                                                       27   Commonwealths of Massachusetts and Virginia; and the District of Columbia.
                                                                                                                                                                            3
                                                                                                                                                                            3 Andrew R. Wheeler, in his official capacity as Administrator of the United States Environmental Protection
                                                                                                                                                                       28   Agency, and the United States Environmental Protection Agency.
                                                                                                                                                                                                                                     -1-                         Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   generally supports such interests, it is principally interested in promoting the continued

                                                                                                                                                                        2   sustainability of hydropower as a renewable and reliable energy source.

                                                                                                                                                                        3          Notwithstanding NHA's
                                                                                                                                                                                                   NHA’s strong showing of its right to intervene, if this Court disagrees, it

                                                                                                                                                                       4    should still grant NHA permissive intervention. For permissive intervention, NHA need only

                                                                                                                                                                        5   show that its defense shares a common question of law or fact with the main action, and that

                                                                                                                                                                        6   intervention will not unduly prejudice the parties. Here, NHA intends to argue, directly contrary

                                                                                                                                                                        7   to Plaintiffs'
                                                                                                                                                                               Plaintiffs’ allegations, that the EPA enacted its final rule consistent with the Administrative

                                                                                                                                                                        8   Procedure Act and all other statutory authority. Thus, NHA's
                                                                                                                                                                                                                                   NHA’s defense undoubtedly shares with

                                                                                                                                                                        9   this action numerous common questions of law and fact. Finally, as noted above, this motion is

                                                                                                                                                                       10   timely and no parties would be prejudiced by NHA's
                                                                                                                                                                                                                         NHA’s intervention, especially given NHA's
                                                                                                                                                                                                                                                              NHA’s
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                                                                                                                                                                       11   enthusiastic agreement to abide by all of this Court's
                                                                                                                                                                                                                           Court’s scheduling orders.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   II.    INTEREST OF PROPOSED INTERVENOR
                  HAMILTON




                                                                                                                                                                       13          NHA is a nonprofit national association dedicated to promoting the growth of clean,
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                                                                                                                                                                       14   affordable U.S. hydropower. Declaration of Dennis Cakert ("Cakert
                                                                                                                                                                                                                                     (“Cakert Dec.")
                                                                                                                                                                                                                                              Dec.”) ¶
                                                                                                                                                                                                                                                     ¶ 4. NHA seeks to
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                                                                                                                                                                       15   secure hydropower’s
                                                                                                                                                                                   hydropower's place as a climate-friendly, renewable, and reliable energy source that

                                                                                                                                                                       16   serves environmental, energy, and economic policy objectives. Cakert Dec. ¶
                                                                                                                                                                                                                                                      ¶ 4. NHA represents

                                                                                                                                                                       17   more than 200 hydropower-industry companies in North America, including public- and investor-

                                                                                                                                                                       18   owned utilities and independent power producers. Cakert Dec. ¶
                                                                                                                                                                                                                                         ¶ 5. Its members are involved in

                                                                                                                                                                       19   projects throughout the United States, including both federal and non-federal hydroelectric

                                                                                                                                                                       20   facilities. See Cakert Dec. ¶
                                                                                                                                                                                                        ¶ 6. In fact, NHA members own and operate the majority of the non-

                                                                                                                                                                       21   federal waterpower-generating facilities in the United States. See Cakert Dec. ¶
                                                                                                                                                                                                                                                           ¶ 6.

                                                                                                                                                                       22          For over a century, hydropower has generated clean, affordable, and renewable energy.

                                                                                                                                                                       23   See Cakert Dec. ¶
                                                                                                                                                                                            ¶ 7. Today, hydropower provides energy to over 30 million American homes. In

                                                                                                                                                                       24   2019, hydroelectricity "accounted
                                                                                                                                                                                                   “accounted for about 6.6% of total U.S. utility-scale electricity generation

                                                                                                                                                                       25   and 38% of total utility-scale renewable electricity generation."
                                                                                                                                                                                                                                 generation.” Cakert Dec. ¶
                                                                                                                                                                                                                                                          ¶ 8. Hydropower

                                                                                                                                                                       26   also enables other energy sources, such as wind and solar, greater integration into the power grid,

                                                                                                                                                                       27   remaining ready to produce power during periods of lower production. Cakert Dec. ¶
                                                                                                                                                                                                                                                             ¶ 11.

                                                                                                                                                                       28          At present, hydropower developments face a complex web of regulatory regimes and a
                                                                                                                                                                                                                              -2-                       Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   comprehensive regulatory approval process that involves the Federal Energy Regulatory

                                                                                                                                                                        2   Commission, federal and state resource agencies, and, most relevant here, water quality

                                                                                                                                                                        3   certification under section 401 of the Clean Water Act, 33 U.S.C. § 1341, pursuant to the EPA

                                                                                                                                                                       4    regulations at issue in this case. Cakert Dec. ¶
                                                                                                                                                                                                                           ¶ 12. While such regimes and processes offer

                                                                                                                                                                        5   important safeguards, they can also contain redundancies and inefficiencies that unnecessarily

                                                                                                                                                                        6   slow the deployment of clean, renewable hydropower and delay the much-needed environmental

                                                                                                                                                                        7   enhancements and benefits that it brings. Cakert Dec. ¶
                                                                                                                                                                                                                                  ¶ 13. For these reasons, NHA and its

                                                                                                                                                                        8   members—as the regulated community subject to the EPA’s
                                                                                                                                                                                                                              EPA's rule—have a substantial and direct

                                                                                                                                                                        9   financial interest in the EPA’s
                                                                                                                                                                                                      EPA's rulemaking and interpretations of the Clean Water Act, especially

                                                                                                                                                                       10   insofar as the EPA curbs state overreach, ensuring that the requirements imposed by states are
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                                                                                                                                                                       11   within the scope and follow the process established by Section 401. Cakert Dec. 'Irlf
                                                                                                                                                                                                                                                            ¶¶ 14, 19.
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   III.     ARGUMENT
                  HAMILTON




                                                                                                                                                                       13            A.        NHA May Intervene As Of Right
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                                                                                                                                                                       14            A party is entitled to intervene as of right under Rule 24(a)(2) when it "(i)
                                                                                                                                                                                                                                                              “(i) timely moves to
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                                                                                                                                                                       15   intervene; (ii) has a significantly protectable interest related to the subject of the action; (iii) may

                                                                                                                                                                       16   have that interest impaired by the disposition of the action; and (iv) will not be adequately

                                                                                                                                                                       17   represented by existing parties."
                                                                                                                                                                                                    parties.” Oakland Bulk & Oversized Terminal, LLC v. City of
                                                                                                                                                                                                                                                             of Oakland,

                                                                                                                                                                       18   960 F.3d 603, 620 (9th Cir. 2020). Although NHA maintains the burden to show that it has met

                                                                                                                                                                       19   these intervention elements, the requirements are "construed
                                                                                                                                                                                                                              “construed broadly in favor of proposed

                                                                                                                                                                       20   intervenors,” United States ex rel. McGough v. Covington Techs. Co., 967 F.2d 1391, 1394 (9th
                                                                                                                                                                            intervenors,"

                                                                                                                                                                       21   Cir. 1992), because "[a]
                                                                                                                                                                                                “[a] liberal policy in favor of intervention serves both efficient resolution of

                                                                                                                                                                       22   issues and broadened access to the courts,”
                                                                                                                                                                                                               courts," United States v. City of
                                                                                                                                                                                                                                              of Los Angeles, 288 F.3d 391,

                                                                                                                                                                       23   397–98 (9th Cir. 2002). Here, NHA meets all of Rule 24(a)(2)'s
                                                                                                                                                                            397-98                                              24(a)(2)’s mandatory intervention

                                                                                                                                                                       24   requirements.4
                                                                                                                                                                            requirements.4

                                                                                                                                                                       25
                                                                                                                                                                            4
                                                                                                                                                                            4 Proposed intervenors are not required to satisfy the requirements for Article III standing to intervene on behalf of
                                                                                                                                                                       26   defendants. See Vivid Entm't,
                                                                                                                                                                                                    Entm’t, LLC v. Fielding, 774 F.3d 566, 573 (9th Cir. 2014) (intervenor that is not initiating
                                                                                                                                                                                              “need not meet Article III standing requirements").
                                                                                                                                                                            action or appeal "need                                  requirements”). Nevertheless, NHA satisfies all standing criteria,
                                                                                                                                                                       27                    4–6, as Plaintiffs'
                                                                                                                                                                            see infra at pp. 4-6,    Plaintiffs’ lawsuit presents the direct threat of "an
                                                                                                                                                                                                                                                       “an invasion of a legally protected interest that
                                                                                                                                                                            is concrete and particularized and actual or imminent."
                                                                                                                                                                                                                           imminent.” Arizonansfor  for Official English v. Arizona, 520 U.S. 43, 64
                                                                                                                                                                       28   (1997) (citations omitted).
                                                                                                                                                                                                                                         -3-                          Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1                  1.      This Intervention Application Is Unarguably Timely

                                                                                                                                                                        2          NHA’s motion is timely. To decide if a motion to intervene is timely, the Court considers
                                                                                                                                                                                   NHA's

                                                                                                                                                                        3   three factors: (1) the stage of the litigation at which an applicant seeks to intervene; (2) possible

                                                                                                                                                                       4    prejudice to other parties; and (3) the reason for, and length of, the delay. Cal. Dep't.
                                                                                                                                                                                                                                                               Dep’t. of
                                                                                                                                                                                                                                                                      of Toxic

                                                                                                                                                                        5   Substances Control v. Commercial Realty Projects, 309 F.3d 1113, 1119 (9th Cir. 2002). In

                                                                                                                                                                        6   terms of the stage of the litigation, Defendants have not yet filed their Answer, meaning that

                                                                                                                                                                        7   NHA seeks to intervene in this lawsuit at the earliest possible "stage
                                                                                                                                                                                                                                            “stage of the proceeding."
                                                                                                                                                                                                                                                          proceeding.” Id.

                                                                                                                                                                        8   Given the minimal litigation activity thus far, neither Plaintiffs nor Defendants would suffer any

                                                                                                                                                                        9                  NHA’s intervention. See United States v. Alisal Water
                                                                                                                                                                            prejudice from NHA's                                           Water Corp., 370 F.3d 915, 922

                                                                                                                                                                       10   (9th Cir. 2004). And there has been no delay in NHA filing this motion.
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                                                                                                                                                                       11
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                                                                                                                                                                                           2.      NHA Has A Direct And Significant Interest In The Continued
                                                                                                                                                                                                   Enforcement Of Defendants'
                                                                                                                                                                                                                  Defendants’ Final Rule
                                                                                                                                                                       12
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                                                                                                                                                                       13                                          “claim[ ] an interest relating to the property or
                                                                                                                                                                                   A proposed intervenor also must "claim[
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                                                                                                                                                                       14                                          action,” Fed. R. Civ. P. 24(a)(2), which interest the Ninth
                                                                                                                                                                            transaction that is the subject of the action,"
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                                                                                                                                                                            Circuit has required to be "significantly
                                                                                                                                                                                                       “significantly protectable,"
                                                                                                                                                                                                                      protectable,” Allied Concrete & Supply Co. v. Baker, 904
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                                                                                                                                                                       15

                                                                                                                                                                       16   F.3d 1053, 1067 (9th Cir. 2018) (citation omitted). The "operative
                                                                                                                                                                                                                                    “operative inquiry"
                                                                                                                                                                                                                                               inquiry” for all cases is

                                                                                                                                                                       17   “whether the interest is protectable under some law, and whether there is a relationship between
                                                                                                                                                                            "whether

                                                                                                                                                                       18                                                    issue.” Wilderness
                                                                                                                                                                            the legally protected interest and the claims at issue."            Soc’y v. U.S. Forest Serv., 630
                                                                                                                                                                                                                                     Wilderness Soc'y

                                                                                                                                                                       19   F.3d 1173, 1176 (9th Cir. 2011) (en banc) (citation omitted). And the "relationship"
                                                                                                                                                                                                                                                  “relationship” requirement

                                                                                                                                                                       20      “met if the resolution of the plaintiffs
                                                                                                                                                                            is "met                          plaintiff’s claims actually will affect the applicant."
                                                                                                                                                                                                                                                         applicant.” S. Cal. Edison

                                                                                                                                                                       21   Co. v. Lynch, 307 F.3d 794, 803 (9th Cir. 2002) (citation omitted). This is a practical inquiry,

                                                                                                                                                                       22               “dispos[e] of lawsuits by involving as many apparently concerned persons
                                                                                                                                                                            intended to "dispos[e]                                                       persons as is

                                                                                                                                                                       23                                      process.” Id. (emphasis added) (citation omitted). Of
                                                                                                                                                                            compatible with efficiency and due process."

                                                                                                                                                                       24                                              “precisely those [the government] intended to protect"
                                                                                                                                                                            particular relevance here, persons who are "precisely                                    protect”

                                                                                                                                                                       25   with a law or regulation satisfy the interest test. Fresno Cty. v. Andrus, 622 F.2d 436, 438 (9th

                                                                                                                                                                       26   Cir. 1980).

                                                                                                                                                                       27          In enacting the final rule, the EPA expressly provided that "[t]his
                                                                                                                                                                                                                                               “[t]his final rule modernizes

                                                                                                                                                                       28   and clarifies the EPA’s
                                                                                                                                                                                              EPA's regulations and will help States, Tribes, federal agencies, and project
                                                                                                                                                                                                                               -4-                      Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   proponents know what is required and what to expect during a section 401 certification process,

                                                                                                                                                                        2   thereby reducing regulatory uncertainty.”
                                                                                                                                                                                                        uncertainty." 85 Fed. Reg. at 42,236. To that end, the rule clarifies

                                                                                                                                                                        3   that a Clean Water Act Section 401 certification "is
                                                                                                                                                                                                                             “is limited to assuring that a discharge from a

                                                                                                                                                                       4    Federally licensed or permitted activity will comply with water quality requirements,"
                                                                                                                                                                                                                                                    requirements,” which

                                                                                                                                                                        5   requirements it defines as "applicable
                                                                                                                                                                                                       “applicable provisions of §§ 301, 302, 303, 306, and 307 of the Clean

                                                                                                                                                                        6   Water Act, and state or tribal regulatory requirements for point source discharges into waters of

                                                                                                                                                                        7   the United States.”
                                                                                                                                                                                       States." Id. at 42,285 (quoting proposed rules 40 C.F.R. §§ 121.1(n) & 121.3). The

                                                                                                                                                                        8   rule also requires all conditional grants or denials of certification requests to include justification

                                                                                                                                                                        9   and direct citation to the water quality standard impacted by the project. Id. at 42,286 (quoting

                                                                                                                                                                       10   proposed rule 40 C.F.R. § 121.7). And the rule honors the statutory text by making clear that
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                                                                                                                                                                       11   States cannot evade the statute's
                                                                                                                                                                                                    statute’s one-year maximum for acting on permit application under
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                                                                                                                                                                       12   Section 401, id. at 42,235, 42,261, consistent with the D.C. Circuit's
                                                                                                                                                                                                                                         Circuit’s reasoning in Hoopa Valley
                                                                                                                                                                                                                                                                      Valley
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                                                                                                                                                                       13   Tribe v. FERC, 913 F.3d 1099 (D.C. Cir. 2019).
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                                                                                                                                                                       14          NHA has a substantial interest in this litigation, for which intervention is necessary. In
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                                                                                                                                                                       15   their Complaint, Plaintiffs specifically challenge the EPA’s
                                                                                                                                                                                                                                   EPA's rule in multiple respects. Dkt. 1 at 6,

                                                                                                                                                                       16   10–17. Plaintiffs seek to have this Court "set
                                                                                                                                                                            10-17.                                    “set aside [the rulemaking] as arbitrary, capricious, and

                                                                                                                                                                       17   not in accordance with law.”
                                                                                                                                                                                                   law." Id. at 24-26.
                                                                                                                                                                                                                24–26. Thus, Plaintiffs'
                                                                                                                                                                                                                             Plaintiffs’ success in this lawsuit would

                                                                                                                                                                       18   “direct[ly]” impede, Dilks v. Aloha Airlines, 642 F.2d 1155, 1157 (9th Cir. 1981), NHA's
                                                                                                                                                                            "direct[ly]"                                                                       NHA’s and its

                                                                                                                                                                       19   members’ interests in the protection and certainty provided by the rule. NHA's
                                                                                                                                                                            members'                                                                 NHA’s members who

                                                                                                                                                                       20   operate non-federal waterpower-generating facilities are subject to Clean Water Act Section 401

                                                                                                                                                                       21   certification requirements, and are "precisely
                                                                                                                                                                                                                “precisely those [project proponents] [the EPA] intended to

                                                                                                                                                                       22   protect” with this rulemaking. Andrus, 622 F.2d at 438. As an association representing
                                                                                                                                                                            protect"

                                                                                                                                                                       23   companies that are directly regulated under the Clean Water Act, NHA has a concrete interest in

                                                                                                                                                                       24   defending the EPA’s
                                                                                                                                                                                          EPA's regulations, and falls within the class of parties routinely granted

                                                                                                                                                                       25   intervention of right in cases reviewing agency actions. Cf. Mil. Toxics Project v. EPA, 146 F.3d

                                                                                                                                                                       26   948, 954 (D.C. Cir. 1998). Therefore, NHA has a "significantly
                                                                                                                                                                                                                            “significantly protectable interest,"
                                                                                                                                                                                                                                                       interest,” Allied

                                                                                                                                                                       27   Concrete & Supply Co., 904 F.3d at 1067 (citation omitted), that is "direct"
                                                                                                                                                                                                                                                “direct” and "non-contingent,"
                                                                                                                                                                                                                                                             “non-contingent,”

                                                                                                                                                                       28   Dilks, 642 F.2d at 1157, and which the outcome of this case, and the continued applicability of
                                                                                                                                                                                                                               -5-                      Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   the rule, will affect. The "fact
                                                                                                                                                                                                       “fact that California brought this lawsuit seeking to invalidate the

                                                                                                                                                                        2   [regulation], or restrict its sweep, is proof in itself of the efficacy of [the regulation] and its

                                                                                                                                                                        3                to” NHA. Cal. ex rel. Lockyer v. United States, 450 F.3d 436, 442 (9th Cir. 2006).
                                                                                                                                                                            significance to"

                                                                                                                                                                       4
                                                                                                                                                                                            3.      NHA’s Ability To Protect Its Interests, As A Practical Matter, May Be
                                                                                                                                                                                                    NHA's
                                                                                                                                                                        5                           Impaired Or Impeded by Disposition of this Action

                                                                                                                                                                        6           Having found that a party has a significant protectable interest, courts "have
                                                                                                                                                                                                                                                             “have little

                                                                                                                                                                        7   difficulty concluding that the disposition of th[e] case may, as a practical matter, affect it."
                                                                                                                                                                                                                                                                        it.” Id.

                                                                                                                                                                        8   “If an absentee would be substantially affected in a practical sense by the determination made in
                                                                                                                                                                            "If

                                                                                                                                                                        9   an action, he should, as a general rule, be entitled to intervene."
                                                                                                                                                                                                                                    intervene.” Citizens for
                                                                                                                                                                                                                                                          for Balanced Use v.

                                                                                                                                                                       10   Mont. Wilderness Ass’n,
                                                                                                                                                                                  Wilderness Ass 'n, 647 F.3d 893, 898 (9th Cir. 2011) (citation omitted).
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                                                                                                                                                                       11           Here, there is no doubt that NHA's
                                                                                                                                                                                                                 NHA’s and its members'
                                                                                                                                                                                                                               members’ interests will be adversely affected
                                                                                                           S A N F R A N C I S C O , C A L I F O R N I A 94 111-4057
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                                                                                                                                                                       12   by this lawsuit if Plaintiffs prevail. Plaintiffs seek to invalidate the EPA rule, which rule benefits
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                                                                                                                                                                       13   NHA and its members by clarifying the scope and process for receiving Clean Water Act Section
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                                                                                                                                                                       14   401 certifications, thereby curbing state overreach. Dkt. 1 at 6, 10-17,
                                                                                                                                                                                                                                              10–17, 24-26.
                                                                                                                                                                                                                                                     24–26. This rule
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                                                                                                                                                                       15   “promote[s] consistent implementation of section 401 and streamline[s] federal license and permit
                                                                                                                                                                            "promote[s]

                                                                                                                                                                       16   processes,” 85 Fed. Reg. at 42,220, and "eliminates
                                                                                                                                                                            processes,"                             “eliminates the possibility of inconsistent interpretation

                                                                                                                                                                       17   and enforcement of the certification conditions in the federal license or permit,"
                                                                                                                                                                                                                                                      permit,” thereby

                                                                                                                                                                       18   “increasing the likelihood that project proponents will be able to comply with the certification
                                                                                                                                                                            "increasing

                                                                                                                                                                       19   conditions,” id. at 42,276. NHA and its members, or "project
                                                                                                                                                                            conditions,"                                        “project proponents,"
                                                                                                                                                                                                                                         proponents,” are expressly among

                                                                                                                                                                       20   the entities that EPA intended this rule to "help."
                                                                                                                                                                                                                        “help.” Id. at 42,236. If Plaintiffs are successful, then

                                                                                                                                                                       21   NHA and its members will face a more confusing and uncertain regulatory process for any new

                                                                                                                                                                       22   hydropower projects, without the "help"
                                                                                                                                                                                                             “help” of the EPA’s
                                                                                                                                                                                                                           EPA's recent regulatory progress. Id. This would

                                                                                                                                                                       23   “substantially affect[ ],"
                                                                                                                                                                            "substantially         ],” Lockyer, 450 F.3d at 442, and gravely harm NHA and its members

                                                                                                                                                                       24   engaged in the hydropower industry. Therefore, this factor also supports mandatory intervention.

                                                                                                                                                                       25                   4.      The Existing Parties Do Not Adequately Represent NHA's
                                                                                                                                                                                                                                                     NHA’s Interests
                                                                                                                                                                       26           For the adequacy-of-representation element, the Court examines: "(1)
                                                                                                                                                                                                                                                    “(1) whether the interest

                                                                                                                                                                       27   of a present party is such that it will undoubtedly make all of a proposed intervenor's
                                                                                                                                                                                                                                                       intervenor’s arguments;

                                                                                                                                                                       28   (2) whether the present party is capable and willing to make such arguments; and (3) whether a
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                                                                                                                                                                        1   proposed intervenor would offer any necessary elements to the proceeding that other parties

                                                                                                                                                                        2   would neglect,"
                                                                                                                                                                                  neglect,” with the comparison of interests being the "most
                                                                                                                                                                                                                                       “most important factor."
                                                                                                                                                                                                                                                       factor.” Citizens, 647

                                                                                                                                                                        3   F.3d at 898. The proposed-intervenor's
                                                                                                                                                                                             proposed-intervenor’s burden on this is "minimal"
                                                                                                                                                                                                                                     “minimal” and will be satisfied by

                                                                                                                                                                       4    “demonstrat[ing] that representation of its interests ‘may
                                                                                                                                                                            "demonstrat[ing]                                      'may be’ inadequate.” Id. (emphasis added;
                                                                                                                                                                                                                                       be' inadequate."

                                                                                                                                                                        5   citation omitted). When a private party seeks to intervene and join the defense with a government

                                                                                                                                                                        6   entity, the government's
                                                                                                                                                                                        government’s interests are not "identical
                                                                                                                                                                                                                       “identical to the individual parochial interest of a

                                                                                                                                                                        7   particular group just because both entities occupy the same posture in the litigation."
                                                                                                                                                                                                                                                       litigation.” Id. at 899;

                                                                                                                                                                        8   see also Fund for
                                                                                                                                                                                           for Animals, Inc. v. Norton, 322 F.3d 728, 736-37
                                                                                                                                                                                                                                      736–37 (D.C. Cir. 2003). At this early

                                                                                                                                                                        9   stage of the litigation, NHA is not required "to
                                                                                                                                                                                                                         “to anticipate specific differences in trial strategy";
                                                                                                                                                                                                                                                                      strategy”;

                                                                                                                                                                       10   instead, NHA only must show a "difference
                                                                                                                                                                                                          “difference in interests.”
                                                                                                                                                                                                                         interests." Sw. Ctr. for
                                                                                                                                                                                                                                               for Biological Diversity v.
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                                                                                                                                                                       11   Berg, 268 F.3d 810, 824 (9th Cir. 2001).
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                                                                                                                                                                       12          No party to the dispute will adequately represent NHA's
                                                                                                                                                                                                                                     NHA’s and its members'
                                                                                                                                                                                                                                                   members’ interests, and
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                                                                                                                                                                       13   NHA has met this "minimal"
                                                                                                                                                                                             “minimal” burden. Citizens, 647 F.3d at 898 (citation omitted). Plaintiffs
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                                                                                                                                                                       14   obviously cannot represent NHA's
                                                                                                                                                                                                       NHA’s interests, because these two are diametrically opposed
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                                                                                                                                                                       15                                  EPA’s rulemaking. Nor can Defendants adequately represent
                                                                                                                                                                            regarding the viability of the EPA's

                                                                                                                                                                       16   NHA’s interests. Defendant EPA Administrator is the federal official charged with administering
                                                                                                                                                                            NHA's

                                                                                                                                                                       17   the Clean Water Act and implementing Congressional objectives. 33 U.S.C. § 1251(d). Central

                                                                                                                                                                       18   to these Congressional objectives is his duty "to
                                                                                                                                                                                                                          “to restore and maintain the chemical, physical, and

                                                                                                                                                                       19   biological integrity of the Nation's
                                                                                                                                                                                                        Nation’s waters."
                                                                                                                                                                                                                 waters.” Id. § 1251(a). NHA, on the other hand, is "dedicated
                                                                                                                                                                                                                                                                    “dedicated

                                                                                                                                                                       20   to promoting the growth of clean, affordable U.S. hydropower."
                                                                                                                                                                                                                              hydropower.” Cakert Dec. ¶ 4. While the

                                                                                                                                                                       21   benefits of hydropower include its status as a "climate-friendly,
                                                                                                                                                                                                                           “climate-friendly, renewable, and reliable energy

                                                                                                                                                                       22   source that serves national environmental, energy, and economic policy objectives,"
                                                                                                                                                                                                                                                   objectives,” Cakert Dec.

                                                                                                                                                                       23   ¶ 4, NHA's
                                                                                                                                                                            ¶    NHA’s core interests are the promotion of hydropower as an industry. And NHA's
                                                                                                                                                                                                                                                          NHA’s members

                                                                                                                                                                       24   are regulated by the rule, while the EPA is regulator. Cakert Decl. I¶¶ 12, 14. This gives NHA an

                                                                                                                                                                       25   “individual parochial interest"
                                                                                                                                                                            "individual           interest” not necessarily in line with the EPA’s
                                                                                                                                                                                                                                             EPA's goals. Citizens, 647 F.3d at

                                                                                                                                                                       26   899 (citation omitted).

                                                                                                                                                                       27          That NHA and the EPA are likely to have the same ultimate goal—defending the EPA’s
                                                                                                                                                                                                                                                                EPA's

                                                                                                                                                                       28   rule—is insufficient to deny NHA intervention as of right. The EPA may well be focused to a
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                                                                                                                                                                        1   greater extent than NHA on issues of administrative convenience and flexibility. On the other

                                                                                                                                                                        2   hand, NHA is likely to be focused to a greater degree than the EPA on the impact of the rule—

                                                                                                                                                                        3   and its potential vacatur—on the business of NHA's
                                                                                                                                                                                                                         NHA’s members and more broadly on the

                                                                                                                                                                       4    development of hydropower as an important renewable resource. As the Ninth Circuit has held,

                                                                                                                                                                        5   interests sufficiently diverge for purposes of intervention when a government entity's
                                                                                                                                                                                                                                                          entity’s concerns

                                                                                                                                                                        6   are broader than the business motives of a proposed intervenor. Berg, 268 F.3d at 823-24;
                                                                                                                                                                                                                                                              823–24; see

                                                                                                                                                                        7   also Fund for
                                                                                                                                                                                       for Animals, 322 F.3d at 736 ("[W]e
                                                                                                                                                                                                                    (“[W]e have often concluded that governmental entities

                                                                                                                                                                        8   do not adequately represent the interests of aspiring intervenors.").
                                                                                                                                                                                                                                  intervenors.”). Therefore, the Court cannot

                                                                                                                                                                        9   assume that the EPA will "undoubtedly
                                                                                                                                                                                                     “undoubtedly make all of [NHA]'s
                                                                                                                                                                                                                              [NHA]’s arguments."
                                                                                                                                                                                                                                      arguments.” Citizens, 647 F.3d at

                                                                                                                                                                       10   898 (citation omitted). And given this likely distinction between NHA and the EPA, "there
                                                                                                                                                                                                                                                               “there is
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                                                                                                                                                                       11   sufficient doubt about the adequacy of representation to warrant intervention."
                                                                                                                                                                                                                                             intervention.” Trbovich v.
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                                                                                                                                                                       12   United Mine Workers of Am., 404 U.S. 528,
                                                                                                                                                                                        Workers of                    538 (1972). Therefore, this element too supports
                                                                                                                                                                                                                 528,538
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                                                                                                                                                                       13   NHA’s motion for intervention of right.
                                                                                                                                                                            NHA's
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                                                                                                                                                                       14                                              *
                                                                                                                                                                                                                       *      *
                                                                                                                                                                                                                              *       *
                                                                                                                                                                                                                                      *
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                                                                                                                                                                       15          For these reasons, NHA has met its burden on all four elements of intervention as of right,

                                                                                                                                                                       16   and the Court should grant this motion.

                                                                                                                                                                       17          B.      Alternatively, NHA Should Be Permitted To Intervene Under Rule 24(b)
                                                                                                                                                                       18          Should the Court conclude that NHA is not entitled to intervene as a matter of right, the

                                                                                                                                                                       19   Court should nonetheless permit NHA to intervene under Rule 24(b). For a timely motion for

                                                                                                                                                                       20   permissive intervention as a defendant "to
                                                                                                                                                                                                                   “to give ‘defense’
                                                                                                                                                                                                                            'defense' of the government's
                                                                                                                                                                                                                                             government’s rulemaking,” “[a]ll
                                                                                                                                                                                                                                                          rulemaking," "[a]ll

                                                                                                                                                                       21   that is necessary . . . is that [the] intervenor's
                                                                                                                                                                                                                  intervenor’s claim or defense and the main action have a

                                                                                                                                                                       22   question of law or fact in common."
                                                                                                                                                                                                       common.” Kootenai Tribe of
                                                                                                                                                                                                                               of Idaho v. Veneman,
                                                                                                                                                                                                                                           Veneman, 313 F.3d 1094,1108
                                                                                                                                                                                                                                                             1094, 1108

                                                                                                                                                                       23   (9th Cir. 2002), overruled in part
                                                                                                                                                                                                          part on other grounds as stated in Wilderness Soc’y,
                                                                                                                                                                                                                                             Wilderness Soc 'y, 630 F.3d at

                                                                                                                                                                       24   1178–79. The Court should also "consider
                                                                                                                                                                            1178-79.                       “consider whether the intervention will unduly delay or

                                                                                                                                                                       25   prejudice the adjudication of the original parties'
                                                                                                                                                                                                                       parties’ rights."
                                                                                                                                                                                                                                rights.” Fed. R. Civ. P. 24(b).

                                                                                                                                                                       26          Permissive intervention here is plainly appropriate. NHA intends to litigate in defense of

                                                                                                                                                                       27                        Plaintiffs’ Complaint, Dkt. 1 at 24-26,
                                                                                                                                                                            the rule, and, given Plaintiffs'                      24–26, this places NHA's
                                                                                                                                                                                                                                                     NHA’s defense within the

                                                                                                                                                                       28   confines of the "main
                                                                                                                                                                                            “main action."
                                                                                                                                                                                                  action.” Kootenai Tribe, 313 F.3d at 1108 (citation omitted). Furthermore,
                                                                                                                                                                                                                               -8-                     Case No. 3:20-CV-04869-WHA
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                                                                                                                                                                        1   and as discussed above, see, supra, Part III.A.1., the case is in its infancy, so neither Plaintiffs nor

                                                                                                                                                                        2   Defendants will suffer any prejudice if NHA is permitted to intervene. See Alisal Water
                                                                                                                                                                                                                                                              Water Corp.,

                                                                                                                                                                        3   370 F.3d at 922. And, finally, NHA is willing to abide by all of the Court's
                                                                                                                                                                                                                                                 Court’s scheduling orders,

                                                                                                                                                                       4    further supporting permissive intervention here. See Kootenai Tribe, 313 F.3d at 1111 n.10. In

                                                                                                                                                                        5   such cases, where an intervention motion is "filed
                                                                                                                                                                                                                        “filed near the case outset and the [proposed

                                                                                                                                                                        6   intervenors] said they could abide the court’s
                                                                                                                                                                                                                   court's briefing and procedural scheduling orders, there [is]

                                                                                                                                                                        7   no issue whatsoever of undue delay."
                                                                                                                                                                                                         delay.” Id. Therefore, even if this Court concludes that NHA may

                                                                                                                                                                        8   not intervene as of right, it should then grant it permission to intervene in this lawsuit.

                                                                                                                                                                        9   IV.     CONCLUSION
                                                                                                                                                                       10           This Court should grant NHA's
                                                                                                                                                                                                            NHA’s motion to intervene, and the accompanying Proposed
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                                                                                                                                                                       11   Answer should be accepted for filing.
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                  HAMILTON




                                                                                                                                                                       13                                          Respectfully submitted,
            EPPER H
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                                                                                                                                                                       14
                                                                                                                                                                            Dated: September 4, 2020               TROUTMAN PEPPER HAMILTON
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                                                                                                                                                                       15                                          SANDERS LLP
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                                                                                                                                                                                                                   By: /s/ Elizabeth Holt Andrews
                                                                                                                                                                       17                                              Elizabeth Holt Andrews
                                                                                                                                                                                                                       Misha Tseytlin (pro hac vice pending)
                                                                                                                                                                       18                                              Charles Sensiba (pro hac vice pending)
                                                                                                                                                                                                                       Andrea W. Wortzel (pro hac vice pending)
                                                                                                                                                                       19                                              Sean T.H. Dutton (pro hac vice pending)

                                                                                                                                                                       20                                                    for Proposed Intervenor
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                                                                                                                                                                                         NOTICE OF MOTION, MOTION TO INTERVENE, AND POINTS & AUTHORITIES
